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 1 Amy van Saun (Pro Hac Vice)
   George A. Kimbrell (Pro Hac Vice)
 2 Center for Food Safety

 3 2009 NE Alberta St., Suite 207
   Portland, Oregon 97211
 4 T: (971) 271-7372
   Emails: avansaun@centerforfoodsafety.org
 5 gkimbrell@centerforfoodsafety.org

 6 Attorneys for Plaintiffs

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 8
                                UNITED STATES DISTRICT COURT
 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
10

11
      CENTER FOR ENVIRONMENTAL
12    HEALTH et al.,                                      Case No. 3:18-cv-01763-RS
13
                                                          ORDER
                          Plaintiffs,
14                                                        JOINT STATUS REPORT
              v.
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16    THOMAS VILSACK, in his official capacity as                                ISTRIC
      Secretary of U.S. Department of Agriculture et                        TES D      TC
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17    al.,                                                                                            O
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                          Defendants.
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28 Center for Environmental Health et al v. Vilsack et al., No. 3:18-cv-01763-RS
   Joint Status Report
             Case 3:18-cv-01763-RS           Document 190         Filed 08/26/24       Page 2 of 3




 1                                       JOINT STATUS REPORT
 2           Pursuant to this Court’s order on March 4, 2022, ECF No. 176, the parties file the following

 3 status report:

 4           1.     On March 4, 2022, this Court granted USDA’s motion for voluntary remand

 5 without vacatur and ordered the parties to file a status report within 180 days. ECF No. 176.

 6           2.     On August 9, 2022, the United States Department of Agriculture published for

 7 public comment in the Federal Register a Notice of Proposed Rulemaking for the National Organic
 8 Program (NOP); Organic Livestock and Poultry Practices Rule, 87 Fed. Reg. 48,562 (Aug. 9, 2022)

 9 (NPRM).

10           3.     On November 6, 2023, the parties jointly notified the Court that on November 2,

11 2023, the United States Department of Agriculture published in the Federal Register a final rule,

12 The National Organic Program (NOP); Organic Livestock and Poultry Standards Rule, 88 Fed. Reg.

13 75,394 (Nov. 2, 2023), which is the culmination of a rulemaking on remand that sought to address

14 “topics that were the subject of the OLPP final rule,” and at issue in this litigation. See ECF No.

15 181.

16           4.     The parties have reached a settlement agreement in principle, subject to final

17 approval by the Department of Justice pursuant to its regulations and procedures. The parties jointly

18 propose filing another status report on October 24, 2024 to update the Court.
19           Dated: August 22, 2024                         Respectfully submitted,

20                                                          /s/ Amy van Saun
                                                            AMY VAN SAUN (Pro Hac Vice)
21
                                                            George Kimbrell (Pro Hac Vice)
22                                                          Center for Food Safety
                                                            2009 NE Alberta St., Suite 207
23                                                          Portland, Oregon 97211
                                                            T: (571) 527-8618
24                                                          Emails: avansaun@centerforfoodsafety.org
                                                            gkimbrell@centerforfoodsafety.org
25
                                                            Attorneys for Plaintiffs
26

27

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                                                            BRIAN M. BOYNTON
 1                                                          Principal Deputy Assistant Attorney General
 2
                                                            JOEY BORSON
 3                                                          Assistant Branch Director

 4                                                           /s/ Lisa Newman
                                                            LISA NEWMAN (TX 24107878)
 5                                                          Trial Attorney
                                                            U.S. Department of Justice
 6                                                          Civil Division, Federal Programs Branch
                                                            1100 L Street NW
 7
                                                            Washington, D.C. 20005
 8                                                          Tel: (202) 514-5578
                                                            Fax: (202) 616-8470
 9                                                          Email: lisa.n.newman@usdoj.gov

10                                                          Attorney for Defendant
11

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28 Center for Environmental Health et al v. Vilsack et al., No. 3:18-cv-01763-RS
   Joint Status Report
